          Case 1:18-cv-02362-EGS Document 11 Filed 12/18/18 Page 1 of 3



                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 STEPHEN E. McMILLAN,

        Plaintiff,
                                                      CASE NO.: 1:18-cv-02362-EGS
 v.

 WASHINGTON METROPOLITAN AREA
 TRANSIT AUTHORITY,

         Defendant.

      DEFENDANT’S REPLY TO PLAINTIFF’S OPPOSITION TO DEFENDANT’S
                          MOTION TO DISMISS

        Defendant Washington Metropolitan Area Transit Authority (“WMATA”) moved to

dismiss Plaintiff’s one-page Complaint because Plaintiff’s claims are barred by the doctrine of

res judicata and this Court therefore lacks subject matter jurisdiction over this case. (ECF 6).

Not only does Plaintiff’s Opposition fail to adequately confront this argument, it illustrates

precisely why res judicata should apply. Plaintiff readily admits, “The Order obtained from this

Court on October 12, 2012 by WMATA for Summary Judgment, is the basis – not the essence of

the Plaintiff’s current Claim.” (ECF 13, p. 5, emphasis in original). The remainder of Plaintiff’s

Opposition – including the cited case law – is nonsensical, non-binding, or not applicable to the

facts at issue.

        Despite Plaintiff’s Opposition, the facts remain: six years after this Court granted

summary judgment, Plaintiff now improperly attempts to contest those very same matters which

he had a full and fair opportunity to litigate. No complex analysis is needed for this Court to

apply res judicata, because the same parties litigated the same cause of action, which resulted in

a final judgment on the merits. See Polsby v. Thompson, 201 F.Supp.2d 45, 48 (D.D.C. 2002).

“Also, the doctrine of res judicata applies to all the parties’ rights regarding matters that could
           Case 1:18-cv-02362-EGS Document 11 Filed 12/18/18 Page 2 of 3



have been litigated as well as those matters that were actually litigated.” Id. To the extent

Plaintiff feels the October 12, 2012 Order was wrongly decided, Plaintiff had an opportunity to

appeal. In fact, he did appeal, and that appeal was dismissed for lack of prosecution. (ECF 6,

Ex. 5). Additionally, this case must be dismissed consistent with the policy of enforcing the

doctrine of res judicata: “to conserve judicial resources, avoid inconsistent results, engender

respect for judgments of predictable and certain effect, and to prevent serial forum-shopping and

piecemeal litigation.” Reynolds v. U.S. Dept. of Justice, 10 F.Supp.3d 134, 141 (D.D.C. 2014)

(quoting Hardison v. Alexander, 655 F.2d 1281, 1288, 211 U.S.App.D.C. 51, 58 (D.C. Cir.

1981)). Such policy serves the interest of the public as well as those of the prevailing party in

the prior litigation. This Court plainly lacks jurisdiction over Plaintiff’s present claims, and this

matter must be dismissed in its entirety.

          WHEREFORE, in consideration of the foregoing grounds, Defendant WMATA requests

this Honorable Court grant the instant motion, thereby dismissing Plaintiff’s Complaint with

prejudice, and grant to Defendant any such other and further relief as this Court deems just and

proper.

Dated: December 18, 2018
                                               Respectfully submitted,

                                               WASHINGTON METROPOLITAN AREA
                                               TRANSIT AUTHORITY

                                                /s/ M. Richard Coel
                                               M. Richard Coel (DC Bar No. 1005236)
                                               Office of General Counsel
                                               Washington Metropolitan Area Transit Authority
                                               600 Fifth Street, NW
                                               Washington, DC 20001
                                               T: (202) 962-6096
                                               F: (202) 962-2550
                                               E: RCoel@wmata.com



                                                  2
         Case 1:18-cv-02362-EGS Document 11 Filed 12/18/18 Page 3 of 3




                                CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing was electronically served on all counsel of
record via the Court’s CM/ECF system, and on this 18th day of December, 2018, sent by first
class mail, postage pre-paid to the following:

               Stephen E. McMillan
               7706 Fanwood Ct.
               District Heights, MD 20747




                                              /s/ M. Richard Coel
                                             M. Richard Coel




                                                 3
